 1   Arasto Farsad, Esq. (SBN #273118)
     Nancy Weng, Esq. (SBN #251215)
 2   FARSAD LAW OFFICE, P.C.
     1625 The Alameda, suite 525
 3   San Jose, CA 95126
     Tel: (408) 641-9966
 4   Fax: (408) 866-7334
     Email addresses: farsadlaw1@gmail.com;
 5   nancy@farsadlaw.com
 6   Attorneys for Debtor / debtor-in-possession
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11   In re:                                                )   Case No. 23-30874 DM
                                                           )   Chapter 11
12                                                         )
     ERICK FERNANDO CRESPO,                                )   STATUS CONFERENCE STATEMENT;
13
                                                           )   CERTIFICATE OF SERVICE
14                                                         )
     Debtor / debtor-in-possession.                        )   Date: February 9, 2024
15                                                         )   Time: 10:00 am
                                                           )   Place: **Hearing to be conducted by Tele /
16
                                                           )   Video Conference
17                                                         )
                                                           )
18                                                             Judge: Honorable Dennis Montali
                                                           )
19

20            TO THE HONORABLE JUDGE DENNIS MONTALI, THE UNITED STATES
21   TRUSTEE’S OFFICE FOR THE NORTHERN DISTRICT OF CALIFORNIA, ALL
22   PARTIES IN INTEREST, AND THEIR RESPECTIVE COUNSEL(S):
23            Now comes the Debtor / debtor-in-possession, ERICK FERNANDO CRESPO, by and
24   through his counsel of record, Farsad Law Office, P.C., and hereby submits the instant Status
25   Conference Statement for the Status Conference set for February 9, 2024, at 10:00 a.m. in this
26   Court.
27

28

     Status Conference Statement; Certificate of Service                                                    1


     Case: 23-30874          Doc# 35       Filed: 01/31/24      Entered: 01/31/24 18:21:17      Page 1 of 6
 1                                   STATEMENT OF THE CASE
                     General Background and The Proposed Plan of Reorganization
 2
             On December 23, 2023, the Debtor filed the instant case to deal with significant debt that
 3
     he personally owes after his business, Wise Choice Transportation, Inc., filed bankruptcy
 4
     (Chapter 7 case # 24-40013, filed on January 4, 2024, Northern District of CA) to deal with /
 5
     wind up.
 6
             The Debtor unfortunately signed personal guarantees for some of the debts owed, and so
 7
     he needed to file a personal bankruptcy as well as a Chapter 7 for the Inc. The Debtor was also
 8
     being personally sued by a former employee re: claimed labor law violations in the local
 9
     Superior Court.
10
             The Debtor is working on obtaining gainful regular employment (he is receiving
11
     disability payments now of approximately $6,500.00 per month) and has family support that will
12
     be used to propose a reasonable plan of reorganization in this case.
13

14
         ANTICIPATED DATE FOR FILING A PLAN AND DISCLOSURE STATEMENT
15
             The Debtor anticipates filing a combined chapter 11 plan and disclosure statement right
16
     after the claims bar date runs on April 22, 2024 (to see what the ‘damage’ is re: the personally
17
     guaranteed debts and other debt) and will set a hearing re: tentative approval of the disclosures
18
     contained in the proposed disclosure statement right after.
19

20
                          STATUS OF MONTHLY OPERATING REPORTS AND
                               DEBTOR-IN-POSSESSION ACCOUNTS
21
             The instant case was filed on December 23, 2023 and the first monthly operating was
22
     filed on January 24, 2024 at Dkt. 34. The Debtor has obtained a Chapter 11 Estate EIN and
23
     opened the requisite DIP account.
24
                                  STATEMENT REGARDING INSURANCE
25
             The Debtor’s properties are insured and evidence of insurance has been provided to the
26
     United States Trustee’s Office. They are also on the Debtor’s policies as “notice recipients” and
27
     proof has been provided to the US Trustee’s Office.
28

     Status Conference Statement; Certificate of Service                                                 2


     Case: 23-30874          Doc# 35       Filed: 01/31/24   Entered: 01/31/24 18:21:17    Page 2 of 6
 1   STATUS OF REQUIRED POST-PETITION PAYMENTS TO TAXING AUTHORITIES
 2           All federal and state tax returns are current.
 3
         WHETHER THE DEBTOR HAS MET THE REQUIREMENTS FOR RETAINING
 4
                         PROFESSIONALS IN THE CASE
 5
             An Ex-Parte Application to Employ the FARSAD LAW OFFICE, P.C. (attorneys Arasto
 6   Farsad and Nancy Weng) was filed on January 19, 2024 and an order employing the instant
 7   counsel was entered by this Court on January 19, 2024. (Dkt. 25.)
 8

 9                                  ANTICIPATED PROFESSIONAL FEES
10           The Debtor paid the instant counsel $15,000.00 plus the Court filing fee of $1,738.00
11   before the case was filed. Counsel will seek to have this money paid to them via a formal
12   application for fees. The total anticipated fees in this case are around $20,000.00. (And it may
13   possibly be done with the $15,000.00 already paid.) The Debtor will not be seeking to hire any
14   other professionals at this time.
15

16      WHETHER THE DEBTOR HAS MET THE REQUIREMENTS FOR USING CASH
                     COLLATERAL AND OBTAINING CREDIT
17
             N/A. No income / rents are being collected.
18

19    ARE THERE ANY ORDERS IN THE CASE THAT HAVE GRANTED RELIEF FROM
       THE AUTOMATIC STAY, THAT HAVE EXTENDED OR REFUSED TO EXTEND
20
       THE AUTOMATIC STAY, OR THAT HAVE DETERMINED THAT THERE IS NO
21          AUTOMATIC STAY IN EFFECT AS TO ANY OR ALL CREDITORS

22
             None / not applicable.
23

24    WHETHER ANY MOTIONS TO ASSUME OR REJECT EXECUTORY CONTRACTS
      OR UNEXPIRED LEASES HAVE BEEN FILED OR ARE EXPECTED TO BE FILED
25
             None / not applicable.
26

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     Status Conference Statement; Certificate of Service                                                3


     Case: 23-30874          Doc# 35       Filed: 01/31/24    Entered: 01/31/24 18:21:17   Page 3 of 6
 1     ATTENDANCE AT THE SECTION 341 MEETING PURSUANT TO 11 U.S.C. 341(a)
 2           The Meeting of Creditors pursuant to Section 341 was held on January 22, 2024 and
 3   continued to February 5, 2024 as the Initial Debtor Interview needed to be conducted first.
 4

 5                  COMPLIANCE WITH UNITED STATES TRUSTEE REQUESTS
 6           The Debtor has provided the US Trustee’s Office with the main requested
 7   Information, and is working on some of the usual outstanding items after the Initial Debtor
 8   Interview held on January 30, 2024.
 9

10                                CRAMDOWNS / VALUATION OF ASSETS
11           The Debtor filed a Motion to Value Collateral regarding the Debtor’s residential real
12   property located at 127 Bridgeview Drive, San Francisco, CA 94124 on January 20, 2024. The
13   21-day notice period is still in effect. This is in regards to a junior lien with Fremont Bank that
14   was primarily secured by the Debtor’s former business assets / roughly $1,200,000.00 in trucks.
15

16                               POST-CONFIRMATION SALE OF ASSETS
17           The Debtor does not currently anticipate the post-confirmation sale of any assets that will
18   require the Court’s involvement.
19                                           OBJECTION TO CLAIMS
20           The Debtor does not expect or anticipate objecting to any claims at this time.
21

22           STATUS OF ANY PENDING LITIGATION IN OR OUTSIDE OF THIS COURT
23           The Debtor’s former employee suit (a labor law based complaint entitled Norma Cristina
24   Verduzco v. Eric Crespo, et al. SF Superior Court case # CGC-21-597211) is pending and stayed
25   due to this filing as well as the related business Chapter 7 filing.
26

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     Status Conference Statement; Certificate of Service                                                   4


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 1                                         ENVIRONMENTAL ISSUES
 2           The Debtor does not believe that the estate property has any environmental issues that
 3   would give rise to any litigation based on either state or federal environmental laws.
 4

 5   RESPECTFULLY SUBMITTED,
 6   Dated: January 31, 2024
 7
     FARSAD LAW OFFICE, PC.
 8

 9   By: /s/ Arasto Farsad
     ARASTO FARSAD, ESQ.
10
     AND
11
     By: /s/ Nancy Weng
12   NANCY WENG, ESQ.
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     Status Conference Statement; Certificate of Service                                               5


     Case: 23-30874          Doc# 35       Filed: 01/31/24   Entered: 01/31/24 18:21:17       Page 5 of 6
 1                                          CERTIFICATE OF SERVICE
 2                      **All CM/ECF registrants including the U.S. Trustees Office**
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     Status Conference Statement; Certificate of Service                                           6


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